IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

  

ANN FINCH, as the Executrix ofthe —)
Estate of Franklin Delenor Finch )
)
Plaintiff, )
| )
v. ) 1:16-CV-1077

) VERDICT SHEET
COVIL CORPORATION, )
)
Defendant. )

Issue 1: Was Covil negligent, and was that negligence a proximate cause of injury to Mr.

Yes f No

Go to Issue 2.

Finch?

Issue 2: Did Covil unreasonably fail to provide an adequate warning or instruction, and was

that negligence a proximate cause of injury to Mr. Finch?

Yes \ f No

If you answered “Yes” to Issue I or Issue 2 or both, answer Issue 3. If
you answered “No” to both Issue 1 and Issue 2, do not answer Issue 3.

Issue 3: What amount is the plaintiff entitled to recover for Mr. Finch’s wrongful death?
8 Bo, ¢ pn lhor

This 5 day of October, 2018.

 
     

FOREPERSON

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